                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  NO: 3:03CR109

UNITED STATES OF AMERICA,                 )
          Plaintiff                       )
                                          )
vs.                                       )                               ORDER
                                          )
ANDRE DEVON GRACE,                        )
            Defendant.                    )
                                          )
_________________________________________ )

       THIS MATTER IS BEFORE THE COURT upon the receipt of an undated letter from

Andre Devon Grace (the “Letter”) to Chief Judge Graham C. Mullen. In the Letter, Mr. Grace

complains about his appointed counsel, Richard Deke Falls.

       It is the practice of this Court, when a defendant is represented by counsel, to rule on motions

filed only by counsel of record. Therefore, if Mr. Grace has any matters he wishes this Court to

consider, they must be submitted through his attorney. The Court notes Mr. Grace’s contentions that

Mr. Falls is not adequately representing Mr. Grace’s interests. As such, the Court will schedule an

inquiry into the status of counsel.

       IT IS, THEREFORE, ORDERED that Mr. Grace’s request is DENIED without prejudice

to Mr. Grace’s right to re-file the request, if appropriate, through his attorney.




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                       Signed: October 12, 2005




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